       Case 9:15-cr-00006-DLC Document 191 Filed 10/16/20 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


UNITED STATES OF AMERICA,                       Cause No. CR 15-06-M-DLC

             Plaintiff,

       vs.                                                ORDER

YUSUF DESHAWN REEVES,

             Defendant.


      This matter is before the Court on Defendant Reeves’ motion for

compassionate release under 18 U.S.C. § 3582(c)(1)(A) in light of the COVID-19

outbreak. On October 9, 2020, the Court required additional input from the United

States. Appropriately, it responded well before the deadline.

      Reeves may wish to respond to the United States’ most recent submission.


      Accordingly, IT IS ORDERED that Reeves may respond on or before

October 23, 2020.

      DATED this 16th day of October, 2020.
